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EXHIBIT 3
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David Corrigan

From: Robert H. Smallenberg [rsmallenberg@metrolawva.com]
Sent: Wednesday, April 27, 2011 1:06 PM

To: David Corrigan

Subject: RE: Burton v. Ford

David,

I’ve cleared from 10:00 forward on the 13". Oddly, both numbers | have for Sakia Hall seem to be out of service. We
sent her a yesterday so I’m sure she'll call soon.

Rob Smalienberg

From: David Corrigan [mailto:dcorrigan@hccw.com]
Sent: Monday, April 25, 2011 5:44 PM

To: Robert H. Smallenberg

Cc: Telfair, Brian K. - City Attorney

Subject: Burton v. Ford

Rob —
How do May 9 and 13 look for depositions?

lam going to go ahead and sand you a notice for both Ky’ss and her mother for May 13 at 10:00 a.m. at the office of the
City Attorney. You can depose Officer Ford that day as well.

Please let me know if you would prefer another location.

Thanks.
David

David P. Corrigan

Harman, Claytor, Corrigan & Wellman, P.C.
P.O. Box 70280

Richmond, Virginia 23255

Physical Address:

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